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KITE PHARMA, INC.

JUNO THERAPEUTICS, INC.,
SLOAN KETTERING INSTITUTE
FOR CANCER RESEARCH,
Plaintiffs,
VS.
KITE PHARMA, INC.,

Defendant.

350 South Grand Avenue, Fiftieth Floor

W. CHAD SHEAR (State Bar No. 230602)
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GAN A. CHACON (State Bar No. 304912)

Attorneys for Defendant-Counterclaimant

 

AND RELATED COUNTERCLAIMS

 

 

-Cv-07639-SJO-KS Document 677 Filed 02/10/20 Page 1of4 Page ID #:33786

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ON (State Bar No. 252546)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

Case No. 2:17-cv-7639-SJO-KS

DECLARATION OF SAMANTAK
GHOSH IN SUPPORT OF KITE
PHARMA, INC.’S APPLICATION
FOR LEAVE TO FILE UNDER
SEAL DOCUMENTS IN SUPPORT
OF OPPOSITION TO PLAINTIFFS’
CONSOLIDATED POST-TRIAL
MOTION

Judge: Hon. S. James Otero

 

 

DECLARATION OF SAMANTAK GHOSH IN SUPPORT OF APPLICATION TO FILE UNDER SEAL

 

 
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-Cv-07639-SJO-KS Document 677 Filed 02/10/20 Page 2 of 4 Page ID #:33787

I, Samantak Ghosh, declare:

1. Tam IP Litigation Counsel at Gilead Sciences, Inc. (“Gilead”), the
parent company of Kite Pharma, Inc. (“Kite”). I am a member in good standing of
the State Bar of California. I have personal knowledge of the facts set forth in this
Declaration and, if called as a witness, could and would testify competently to such
facts under oath.

a Concurrently with this declaration, Kite filed various documents

conditionally under seal including:

8 Kite Pharma Inc.’s ri osition to Plaintiffs’ Consolidated Post-Trial
Motion at 23:26-27, 28:14-18, 29:27-28;

® Exhibits 2-6, 14-24; and
8 Trial Exhibits DX2011c and PX156.

a. These documents have been designated by the parties to this litigation
as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” under the Stipulated
Protective Order.

4. Compelling reasons exist to maintain the following documents under
seal. These documents were designated as “Attorneys’ Eyes Only Information”
under the Protective Order. See ECF No. 222.

a, T understand that the right of the public to access court records “Is not
absolute” and that a court may seal confidential information disclosed during the
course of a legal proceeding. Nixon v. Warner Commc ‘ns, Inc., 435 U.S. 589, 598
(1978).

6. I understand that “compelling reasons” exist to seal a record when it
might “become a vehicle for improper purposes,” such as the “release of trade
secrets.” See Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir.
2006) (quoting Nixon, 435 U.S. at 1 179).

a It is my understanding that the Ninth Circuit has defined trade secrets

as “any formula, pattern, device or compilation of information which is used in

a3.

 

DECLARATION OF SAMANTAK GHOSH IN SUPPORT OF APPLICATION TO FILE UNDER SEAL

 

 
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7-CV-07639-SJO-KS Document 677 Filed 02/10/20 Page 30f4 Page ID #:33788

one’s business, and which gives him an opportunity to obtain an advantage over
competitors who do not know or use it.” In re Elec. Arts, Inc., 298 F. App’x 568,
569 (9th Cir. 2008); see also Clark v. Bunker, 453 F.2d 1006, 1009 (9th Cir. 1972).

8. I also understand that, according to the Ninth Circuit, confidential
terms of patent license agreements, such as “pricing terms, royalty rates, and
guaranteed minimum payment terms,” may satisfy the “compelling reasons”
standard. Elec. Arts, 298 F. App’x at 569-70; Kamanaka, 447 F.3d at 1179.

9. Kite Pharma Inc.’s Opposition to Plaintiffs’ Consolidated Post-Trial
Motion at 23:26-27, 28:14—-18, 29:27—28 contains information about Kite’s profit
margins that Kite considers proprietary and maintains as strictly confidential in the
regular course of business. Public disclosure of this information would reveal to
competitors confidential information about Kite’s operating margins with respect to
YESCARTA® that would thereby cause competitive harm to Kite.

10. Exhibits 2-3 and 5 are confidential clinical trial agreements between
Kite and Stanford University (Exhibit 2), and Memorial Sloan Kettering Cancer
Center (Exhibits 3 and 5). Each of these agreements contains detailed budget and
payment terms that Kite considers proprietary and valuable and does not disclose it
to the public. Public disclosure of this information would reveal to competitors
confidential information about Kite’s clinical trial budgets and costs that would
thereby cause competitive harm to Kite.

11. Exhibits 4, and 15-17 are spreadsheets that disclose Kite’s gross
margins, costs, and net product revenue for YESCARTA® including the number of
units sold. Kite considers this information proprietary and valuable and does not
disclose it to the public. Public disclosure of this information would reveal to
competitors confidential information about Kite’s operating margins with respect to

YESCARTA® that would thereby cause competitive harm to Kite.

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DECLARATION OF SAMANTAK GHOSH IN SUPPORT OF APPLICATION TO FILE UNDER SEAL

 

 

 
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7-CV-07639-SJO-KS Document 677 Filed 02/10/20 Page 4of4 Page ID #:33789

12. PX156is a draft internal Kite presentation that contains confidential
and trade secret information related to Kite’s financial forecasts, other operations-
related financial information, competitive intelligence, and strategic planning
information. Public disclosure of this information would reveal to competitors
confidential information about Kite’s forward looking research, development
pipeline goals, and forecasting assumptions, which would disadvantage Kite’ s
position in the marketplace and thereby cause competitive harm. See Dkt. 300.

13. DX201Ic is an internal Gilead presentation that contains Gilead and
Kite’s market share projections, profits, profit margins, expenditures, other financial
terms and calculations related to Kite’s products. Gilead’s regular practice is to
keep such financial projections confidential. Upon information and belief, public
disclosure of Gilead’s projected financials and forecasting assumptions would
disadvantage Gilead in the marketplace and cause competitive harm. The Court has
previously sealed such projected financials and forecasting assumptions. See Dkt.
300.

14. For the foregoing reasons, “compelling reasons” exist for sealing the
above-described information. By seeking to seal only those documents containing
Kite’s and Gilead’s sensitive commercial and financial information, the request is

narrowly tailored.

I declare under penalty of perjury that the foregoing is true and correct.
DATED: February 10, 2020

By: a) Lvul.

 

__SAMANTAK GHOSH

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DECLARATION OF SAMANTAK GHOSH IN SUPPORT OF APPLICATION TO FILE UNDER SEAL

 

 

 
